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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
-----------------------------------------------------------------X
JAN KONOPCA,                                                          Civil Action No.:

                                   Plaintiff,

                 -against-                                            COMPLAINT FOR VIOLATIONS
                                                                      OF THE TELEPHONE
                                                                      CONSUMER PROTECTION ACT
MERCANTILE ADJUSTMENT BUREAU, LLC,
                                                                      DEMAND FOR JURY TRIAL
                                    Defendant(s).
------------------------------------------------------------------X

        Plaintiff, JAN KONOPCA (“Plaintiff”), by and through his attorneys, Law Office of

Alan J. Sasson, P.C., as and for its Complaint against the Defendant, MERCANTILE

ADJUSTMENT BUREAU, LLC (hereinafter referred to as “Defendant(s)”), respectfully sets

forth, complains and alleges, upon information and belief, the following:

                          INTRODUCTION/PRELIMINARY STATEMENT

        1.       Plaintiff brings this action on his own behalf for damages and declaratory and

injunctive relief arising from the Defendant’s violation(s) under Title 47 of the United States

Code, §227 commonly known as the Telephone Consumer Protection Act (TCPA).

                                                   PARTIES

        2.       Plaintiff JAN KONOPCA is a resident of the State of New Jersey, residing at

3 Riverview Avenue, Long Branch, New Jersey.

        3.       Defendant MERCANTILE ADJUSTMENT BUREAU, LLC is a New York

limited liability corporation with their main office at 165 Bell Drive, Suite 100, Williamsville,

New York 14221.
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                              JURISDICTION AND VENUE

       4.     The Court has jurisdiction over this matter pursuant to 28 USC §1331, as well

as 15 USC §1692 et seq. and 28 U.S.C. §2201. If applicable, the Court also has pendent

jurisdiction over the state law claims in this action pursuant to 28 U.S.C. §1367(a).

       5.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                               FACTUAL ALLEGATIONS

       6.     Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs numbered “1” through “5” herein with the same force and effect as if the same

were set forth at length herein.

       7.     Upon information and belief, the Defendant commenced communication with

Plaintiff beginning June 1, 2010 by placing calls to Plaintiff’s mobile telephone number of

732 309 6366 using an automatic telephone dialing system and leaving voice messages.

       8.     Defendant’s telephone calls originated from numbers 800 390 4735 and 866

889 5222 which numbers belong to Defendant.

       9.     On or about June 15, 2010, Plaintiff placed a telephone call to Defendant and

spoke with a representative of Defendant, requesting that the telephone calls cease and

desist immediately.

       10.    Despite Defendant agreeing to cease the calls, said auto-dialed calls

resumed and continued for over one year, through and including June 10, 2011.

       11.    Defendant’s calls to Plaintiff’s mobile telephone amounted to approximately

720 calls.
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                                 FIRST CAUSE OF ACTION
                                  (Violations of the TCPA)

       12.    Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs numbered “1” through “11” herein with the same force and effect as if the

same were set forth at length herein.

       13.    According to the Telephone Consumer Protection Act 47 USC

§227(b)(A)(iii), it shall be unlawful for any person within the United States, or any

person outside the United States if the recipient is within the United States to make any

call (other than a call made for emergency purposes or made with the prior express

consent of the called party) using any automatic telephone dialing system or an artificial

or prerecorded voice to any telephone number assigned to a cellular telephone service

or any service for which the called party is charged for the call.

       14.    Defendant willfully violated TCPA 47 USC §227(b)(A)(iii) by waging a

campaign of unauthorized autodialed telephone calls to Plaintiff’s cellular telephone for

over one year.

       15.     As a result of Defendant’s violations of the TCPA, Plaintiff has been

damaged and is entitled to damages of $1,080,000.00 in accordance with the TCPA.

                              DEMAND FOR TRIAL BY JURY

       16.    Plaintiff hereby respectfully requests a trial by jury for all claims and issues

in its Complaint to which it is or may be entitled to a jury trial.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment from the Defendant as follows:
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             A.    For damages to be awarded to the Plaintiff in accordance with the

TCPA, for each of the Defendant’s seven hundred and twenty (720) willful or knowing

violations of the TCPA, for additional damages of $1,080,000.00.

             B.    For attorneys’ fees and costs.

             C.    For any such other and further relief, as well as further costs,

expenses and disbursements of this action, as this Court may deem just and proper.

Dated: Brooklyn, New York
January 9, 2014


                                        LAW OFFICE OF ALAN J. SASSON, P.C.

                                        By: /s/ Yitzchak Zelman______________
                                        Yitzchak Zelman (YZ5857)
                                        ATTORNEYS FOR PLAINTIFF
                                        1669 East 12 Street
                                        Brooklyn, New York 11229
                                        Phone: 718-339-0856
                                        Fax: 347-244-7178
                                        Email: yzelman@Sassonlaw.com

To:   Mercantile Adjustment Bureau, LLC
      165 Lawrence Bell Drive, Suite 100
      Williamsville, New York 14221

      (Via Prescribed Service)


      Clerk,
      United States District Court, District of New Jersey

      (For Filing Purposes)
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK                  CASE NO.:


JAN KONOPCA,

                             Plaintiff(s),

           -against-



MERCANTILE ADJUSTMENT SERVICES, LLC,

                             Defendant(s).



                        _________________________


                             COMPLAINT

                        _________________________


                  M. HARVEY REPHEN & ASSOCIATES, P.C.
                         708 Third Avenue, 6th Floor
                         New York, New York 10017
                         Phone:     (212) 796-0930
                         Facsimile: (212) 330-7582

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